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                      UNITED STATES DISTRICT COURT

                        DISTRICT OF SOUTH DAKOTA

                                SOUTHERN DIVISION


TRAVELL MARTECE WOLFE,                              4:21-CV-04040-KES

                  Petitioner,
                                                 ORDER ADOPTING REPORT
      vs.                                       AND RECOMMENDATION AND
                                               GRANTING MOTION TO DISMISS
UNITED STATES OF AMERICA,

                  Respondent.


      Petitioner, Travell Martece Wolfe, filed a motion under 28 U.S.C. ' 2255

to vacate, set aside, or correct sentence by a person in federal custody. The

court referred the motion to Magistrate Judge Veronica Duffy. The United

States moved to dismiss the action for failure to state a claim. Docket 18. Wolfe

did not respond. On September 20, 2021, Magistrate Judge Duffy submitted a

report and recommended that Wolfe’s petition be dismissed and respondent’s

motion to dismiss be granted. The time for objections has passed. No objections

to the report and recommendation have been filed under 28 U.S.C. ' 2254,

Rule 8(b)(3). The court has considered the case de novo and adopts the report

and recommendation in full. Therefore, it is
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      ORDERED that the magistrate judge=s report and recommendation

(Docket 20) is adopted in full and respondent=s motion to dismiss (Docket 18) is

granted.

      IT IS FURTHER ORDERED that based upon the reasons set forth herein

and pursuant to Fed. R. App. P. 22(b), the court finds that petitioner has not

made a substantial showing of the denial of a constitutional right. 28 U.S.C.

' 2253(c)(2). Therefore, a certificate of appealability is denied.

      Dated November 2, 2021.

                                       BY THE COURT:


                                       /s/ Karen E. Schreier
                                       KAREN E. SCHREIER
                                       UNITED STATES DISTRICT JUDGE
